            Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 1 of 21



                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


Terrie Gordon

               Plaintiff,
                                                   C.A. No.:
                       v.

MERCK & CO., INC. and                              JURY TRIAL DEMANDED
MERCK SHARP & DOHME CORP.

               Defendants.



                                          COMPLAINT

                              I.      COMMON ALLEGATIONS


       Plaintiff, Terrie Gordon, by and through her attorneys NAPOLI SHKOLNIK, LLC,

alleges as follows:

                                     JURISDICTION AND VENUE

       1.      This Court has personal jurisdiction over the Defendants based on Diversity of

Citizenship pursuant to 28 U.S.C. Section 1332(a)(1), and the amount in controversy is well in

excess of the jurisdictional limit of $75,000.

       2.      At all times relevant hereto, plaintiffs were and are residents of the State of

California.

       3.      Defendant Merck & Co., Inc. is a New Jersey Corporation with its principle place

of business at 1 Merck Drive, Whitehouse Station, NJ 08889.




                                            Page 1 of 21
            Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 2 of 21



       4.      Merck Sharp & Dohme Corp. is a subsidiary of Merck & Co, Inc. and also a New

Jersey Corporation. Merck Sharp & Dohme Corp. transacts business at 126 E Lincoln Ave,

Rahway, NJ 07065.

       5.      Merck & Co., Inc. and Merck Sharp & Dohme Corp. are hereinafter collectively

referred to as Merck.

       6.      At all times relevant to this lawsuit, Merck was engaged in the business of

designing, testing, manufacturing, labeling, licensing, marketing, distributing, promoting and/or

selling, either directly or indirectly through third parties, the Zostavax vaccine.

       7.      Every single action leading up to this lawsuit occurred in California.

       8.      Based upon information and belief, Merck is, and was at all times relevant hereto,

duly authorized to conduct business in California as a registered foreign corporation.

       9.      Based upon information and belief, at all times relevant hereto, Merck regularly

conducted and solicited business within California and continues to do so.

       10.     Based upon information and belief, Merck, either directly or through its agents,

servants and employees, does business in California, and at all times relevant hereto, has sold

and distributed the Zostavax vaccine in California.

       11.     Merck derives substantial revenue from goods used or consumed in California.

       12.     Based on information and belief, Merck advertised its Zostavax vaccine to

patients, doctors and hospitals in California and/or other medical facilities located in California.

       13.     Based on information and belief, Merck advertises or otherwise promotes its

business in California.

       14.     The National Childhood Vaccine Injury Act of 1986 (“Vaccine Act”), 42 U.S.C.

§§ 300aa-1 et seq. does not preempt Plaintiffs from filing this Complaint.


                                            Page 2 of 21
          Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 3 of 21



               a. Pursuant to §11(c)(1)(A) of the Vaccine Act, the Vaccine Court has

                   jurisdiction to only hear cases listed on the Vaccine Injury Table.

               b. The Zostavax vaccine is not a vaccine listed in the Vaccine Injury Table.

                                             FACTS

       15.     At all times hereinafter mentioned, Merck designed, manufactured, licensed,

labeled, tested, distributed, marketed and sold the Zostavax vaccine.

       16.     Zostavax was designed, developed, marketed, and sold with the intended purpose

of preventing shingles, which is caused by the varicella zoster virus (VZV).

       17.     Varicella zoster is a virus that causes chickenpox.

       18.     Once the varicella zoster virus causes chickenpox, the virus remains inactive

(dormant) in the nervous system for many years.

       19.     VZV can be reactivated due to factors such as disease, stress, aging, and immune

modulation caused by vaccination.

       20.     When reactivated, varicella zoster replicates in nerve cells and is carried down the

nerve fibers to the area of skin served by the ganglion that harbored the dormant virus.

       21.     In May of 2006, the U.S. Food and Drug Administration (“FDA”) approved the

Zostavax vaccine to be marketed and sold in the United States by Merck.

       22.     Zostavax was initially indicated for the “the prevention of herpes zoster (shingles)

in individuals 60 years of age and older when administered as a single-dose.” FDA Approval

Letter, May 25, 2006.

       23.     FDA approval was based in large part on the results of the Shingles Prevention

Study (SPS) supported by Merck.




                                           Page 3 of 21
          Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 4 of 21



       24.    The results of the SPS were published in the New England Journal of Medicine on

June 2, 2005. The paper was titled “A Vaccine to Prevent Herpes Zoster and Postherpetic

Neuralgia in Older Adults”. N. Engl. J. Med. 2005; 352(22):2271-84.

              a. Shingles results from reactivation of latent varicella zoster virus (VZV),

                  which is the virus that causes chickenpox. The incidence and severity of

                  shingles increases as people age.

              b. As further described in this paper, “[t]he pain and discomfort associated with

                  herpes zoster can be prolonged and disabling, diminishing the patient’s quality

                  of life and ability to function to a degree comparable to that in diseases such

                  as congestive heart failure, myocardial infarction, diabetes mellitus type 2,

                  and major depression.” N. Engl. J.Med. 2005; 352(22) at 2272.

              c. The Zostavax vaccine is essentially the same vaccine as that used for

                  chickenpox, except significantly stronger.

              d. Zostavax contains live VZV. The virulence of the virus is reduced or

                  “attenuated.” Attenuated vaccines are designed to activate the immune system

                  with the decreased risk of actually developing the disease.

              e. Zostavax is developed from a live attenuated version of the Oka/Merck VZV

                  vaccine strain.

              f. One of the paper’s more significant findings was “[t]he greater number of

                  early cases of herpes zoster in the placebo group, as compared with the

                  vaccine group, and the fact that no vaccine virus DNA was detected, indicate

                  that the vaccine did not cause or induce herpes zoster.”




                                          Page 4 of 21
          Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 5 of 21



       25.     A risk of using a live virus vaccine is that it is not weakened enough or “under-

attenuated”.

       26.     Under-attenuated live virus creates an increased risk of developing the disease the

vaccine was to prevent.

       27.     Under-attenuated live VZV has been shown to reactivate. Leggiadro, R. J. (2000).

“Varicella Vaccination: Evidence for Frequent Reactivation of the Vaccine Strain in Healthy

Children.” The Pediatric Infectious Disease Journal, 19(11), 1117–1118; Krause, P. R., &

Klinman, D. M. (2000). Nature Medicine, 6(4), 451–454.

       28.     Once injected, attenuated live virus has been shown to recombine into more

virulent strains causing disease.

       29.     Shingles is a reactivation of the latent VZV.

       30.     The approval granted by the FDA to allow the selling and marketing of this

vaccine came with certain post-marketing commitments that Merck agreed to complete, among

other things, to insure the safety of this vaccine. These included the following:

               a. A randomized, placebo-controlled safety study to assess the rates of serious

                   adverse events in 6,000 people receiving the vaccine as compared to 6,000

                   who receive a placebo.

               b. An observational study using a health maintenance organization (HMO) and

                   20,000 vaccinated people to address safety issues in the course of clinical

                   practice. This study is specifically to detect “potential safety signals following

                   administration of Zostavax.” This study was to be submitted to the FDA by

                   December 2008.




                                            Page 5 of 21
             Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 6 of 21



       31.      Since the publication of the SPS in the New England Journal of Medicine, there

have been questions raised regarding the safety of Zostavax vaccine in scientific and medical

journals.

       32.      Zostavax is a stronger, more potent version of Merck’s chickenpox vaccine,

Varivax.

       33.      Varivax contains a minimum of 1,350 PFU (plaque-forming units) of the virus

while Zostavax contains a minimum of 19,400 PFU.

       34.      In the clinical studies evaluating Zostavax, more than 90% of the vaccinated

subjects received 32,300 PFU.

       35.      Merck added several adverse reactions to its package insert/prescribing

information since Varivax was approved.

                a. The biological system in which the most adverse reactions were added was the

                   nervous system.

                b. Added reactions include: encephalitis, cerebrovascular accident, transverse

                   myelitis, Guillain-Barré syndrome, Bell’s palsy, ataxia, non-febrile seizures,

                   aseptic meningitis, dizziness, and paresthesia.

                c. Acute Disseminated Encephalomyelitis is a type of encephalitis.

       36.      As of July 2012, the patient information sheet, label, and prescribing information

distributed with the Zostavax vaccine contain no clear reference to the potential risk of viral

infection.

       37.      Individuals with compromised immune systems should not receive a live virus

vaccine because those individuals can develop the disease that the vaccine is designed to prevent.




                                           Page 6 of 21
          Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 7 of 21



       38.        At all times relevant hereto, the patient information sheet, as well as the label and

prescribing information for Zostavax, did not adequately, if at all, address the risk of viral

infection. All that was addressed was the concern that a rash and itching might develop at the

injection site. This was despite the fact that shingles was a noted occurrence during clinical trials

of the vaccine.

       39.        The prescribing information for Zostavax contains a warning that “[t]ransmission

of vaccine virus may occur between vaccines and susceptible contacts.”

                  a. The risk of transmission of vaccine virus is due to active viral infection in

                     individuals receiving the Zostavax vaccine.

       40.        At all times relevant hereto, the patient information sheet, as well as the label and

prescribing information for Zostavax, did not adequately, if at all, address the risk of viral

infection or possible diseases of the nervous system. This was despite the fact that Varivax, a less

potent vaccine, had added several neurological diseases and symptoms as adverse reactions to

the Varivax vaccine.

       41.        Since Zostavax’s introduction in 2006, vaccine adverse event reports (VAERs)

appeared in significant numbers addressing various adverse effects, including, but not limited to,

viral infection resulting in disease of the central nervous system, including acute disseminated

encephalomyelitis.

       42.        Other than postherpetic neuralgia, shingles can lead to other serious

complications, such as scarring, bacterial superinfection, allodynia, cranial and motor neuron

palsies, pneumonia, encephalitis, visual impairment, hearing loss, and death.

       43.        It follows that given the increased risk of viral infection due to vaccination, such

complications are also possible complications of Zostavax. It also follows that post vaccination


                                              Page 7 of 21
           Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 8 of 21



viral infection can cause significant issues in the nervous system due to the replication of the

latent virus in the nervous system.

       44.     Despite this information and the potential correlation between being administered

the Zostavax vaccine and developing an infection within a relatively short period of time, leading

to the development of shingles or varicella-zoster virus pneumonia, Merck failed to properly

address and provide this information both to patients and the medical providers prescribing the

vaccine.

       45.     On or about February 20, 2015, Plaintiff, Terrie Gordon, received the Zostavax

vaccine for its intended purpose: the prevention of shingles.

       46.     As a direct result of the vaccine, Plaintiff suffered from a Shingles outbreak, in

addition to chronic pain, rash and lesions to various parts of his body.

       47.     Plaintiff did not have a Shingles outbreak until September 11, 2017.

       48.     As a direct result of the vaccine, Plaintiff, TERRIE GORDON, suffered mental

and emotional distress due to resulting physical limitations and seriousness of her condition.

       49.     As a result of the manufacture, marketing, advertising, promotion, distribution

and/or sale of Zostavax, plaintiff sustained severe and permanent personal injuries. Further, as a

tragic consequence of Merck’s wrongful conduct, Plaintiff suffered serious, progressive,

permanent, and incurable injuries, as well as significant conscious pain and suffering, mental

anguish, emotional distress, loss of enjoyment of life, physical impairment and injury.

       50.     Plaintiffs have incurred medical expenses and other economic harm as a direct

result of use of Zostavax.

                                  FIRST CAUSE OF ACTION
                                       NEGLIGENCE



                                           Page 8 of 21
           Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 9 of 21



       51.       Plaintiffs repeat, reiterate, and reallege each and every allegation contained in this

Complaint with the same force and effect as if fully set forth herein.

       52.       Merck had a duty to exercise reasonable care in the design, research, manufacture,

marketing, testing, advertisement, supply, promotion, packaging, sale, and distribution of

Zostavax including the duty to take all reasonable steps necessary to manufacture and sell a

product that was not defective and unreasonably dangerous to consumers and users of the

product.

       53.       Merck failed to exercise reasonable care in the design, formulation, manufacture,

sale, testing, quality assurance, quality control, labeling, marketing, promotions, and distribution

of Zostavax because Merck knew, or should have known, that its product caused viral infection,

and was therefore not safe for administration to consumers.

       54.       Merck failed to exercise due care in the labeling of Zostavax and failed to issue to

consumers and/or their healthcare providers adequate warnings as to the risk of serious bodily

injury, including viral infection, resulting from its use.

       55.       Merck continued to manufacture and market its product despite the knowledge,

whether direct or ascertained with reasonable care, that Zostavax posed a serious risk of bodily

harm to consumers. This is especially true given its tenuous efficacy.

       56.       Merck knew, or should have known, that consumers, such as the Plaintiff,

TERRIE GORDON, suffered the aforesaid injuries as a result of Merck’s failure to exercise

ordinary care.

       57.       As a direct and proximate consequence of Merck’s negligence, Plaintiff sustained

serious personal injuries and related losses including, but not limited to, mental anguish, physical




                                             Page 9 of 21
          Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 10 of 21



pain and suffering, diminished capacity for the enjoyment of life, a diminished quality of life,

medical and related expenses, and other losses and damages.

       WHEREFORE, Plaintiffs demand judgment against the Defendants and request

compensatory damages for pain and suffering, medical costs and expenses, lost wages;

prejudgment and post-judgment interest as allowed by law, costs of suit and attorneys’ fees, as

allowed by law, punitive damages, and any and all such other relief as the Court deems just and

proper; and further, demands a trial by jury of all issues so triable.

                                 SECOND CAUSE OF ACTION
                                     DESIGN DEFECT


         58.   Plaintiffs repeat, reiterate, and reallege each and every allegation contained in

 this Complaint with the same force and effect as if fully set forth herein.

         59.   Merck designed, researched, developed, manufactured, tested, labeled,

 advertised, promoted, marketed, sold, supplied, and/or distributed the Zostavax vaccine.

         60.   The Zostavax vaccine was expected to, and did, reach the intended consumers,

 handlers, and persons coming in contact with the product with no substantial change in the

 condition in which the product was designed, produced, manufactured, sold, distributed,

 labeled, and marketed by Merck.

         61.   The Zostavax vaccine was manufactured, designed, marketed, labeled and sold

 in a defective condition, for use by Plaintiff’s physicians and/or healthcare providers, and all

 other consumers of the product, making the product unreasonably dangerous.

         62.   The Zostavax vaccine, as designed, researched, manufactured, tested, advertised,

 promoted, marketed, sold, and distributed by Merck was defective in design and formulation




                                            Page 10 of 21
        Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 11 of 21



in that when it left the hands of the manufacturers, suppliers, and distributors, the foreseeable

risks of harm caused by the product exceeded the claimed benefits of the product.

       63.   Merck’s Zostavax vaccine, as designed, researched, manufactured, tested,

advertised, promoted, marketed, sold, and distributed by Merck was defective in design and

formulation, because when it left the hands of Merck, the product was unreasonably

dangerous and was also more dangerous than expected by the ordinary consumer.

       64.   At all times relevant to this action, Merck knew and had reason to know that its

Zostavax vaccine was inherently defective and unreasonably dangerous as designed,

formulated, and manufactured by Merck, and when used and administered in the form

manufactured and distributed by Merck, and in the manner instructed by Merck to be used and

administered to the Plaintiff, TERRIE GORDON, and other consumers.

       65.   Plaintiff’s physicians and/or healthcare providers used and administered the

Zostavax vaccine for the purpose intended by Merck, and in a manner normally intended to be

used and administered, namely for vaccination against shingles (herpes zoster). Merck had a

duty to design, create, and manufacture products that were reasonably safe and not

unreasonably dangerous for their normal, common, and intended use. Merck’s product was

not reasonably fit, suitable, or safe for its anticipated use, and safer, reasonable alternative

designs existed and could have been utilized. Reasonably prudent manufacturers would not

have placed the product in the stream of commerce with knowledge of these design flaws.

       66.   Merck designed, developed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and distributed a defective product that created an unreasonable

risk of serious harm to the health, safety, and well-being of the Plaintiff and other consumers.




                                         Page 11 of 21
         Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 12 of 21



Merck is therefore strictly liable for the Plaintiff injuries and damages sustained proximately

caused by his use of the product.

        67.   Plaintiff could not, by the exercise of reasonable care, discover the defective

condition of Merck’s product and/or perceive its defective dangers prior to its administration

by his physicians and/or healthcare providers.

        68.   Merck’s defective Zostavax vaccine was a substantial, proximate, and

contributing factor in causing the Plaintiff’s injuries.

        69.   As a proximate result of Merck’s acts and omissions, the Plaintiff suffered

serious physical injuries and incurred substantial medical costs and expenses to treat and care

for his injuries described in this Complaint, including, but not limited to, mental anguish,

physical pain and suffering, diminished capacity for the enjoyment of life, a diminished

quality of life, medical and related expenses, and other losses and damages.

      WHEREFORE, Plaintiffs demand judgment against the Defendants, and request

compensatory damages for pain and suffering, medical costs and expenses, lost wages;

prejudgment and post-judgment interest as allowed by law, costs of suit and attorneys’ fees, as

allowed by law, punitive damages, and any and all such other relief as the Court deems just

and proper; and further, demands a trial by jury of all issues so triable.

                                 THIRD CAUSE OF ACTION
                                   FAILURE TO WARN


        70.   Plaintiffs repeat, reiterate, and reallege each and every allegation contained in

this Complaint with the same force and effect as if fully set forth herein.

        71.   Merck designed, researched, developed, manufactured, tested, labeled,

advertised, promoted, marketed, sold, supplied, and/or distributed the Zostavax vaccine.


                                          Page 12 of 21
        Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 13 of 21



       72.    The Zostavax vaccine was expected to, and did, reach the intended consumers,

handlers, and persons coming in contact with the product with no substantial change in the

condition in which the product was designed, produced, manufactured, sold, distributed,

labeled, and marketed by Merck.

       73.    The Zostavax vaccine was manufactured, designed, marketed, labeled and sold

in a defective condition, for use by the Plaintiff’s physicians and/or healthcare providers and

all other consumers of the product, making the product unreasonably dangerous.

       74.    Merck researched, developed, designed, tested, manufactured, inspected,

labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of

commerce its Zostavax vaccine and in the course of same, directly advertised or marketed the

product to consumers or persons responsible for consumers, and therefore had a duty to warn

of the risks associated with the use of its product.

       75.    Merck’s Zostavax vaccine, as designed, researched, developed, manufactured,

tested, advertised, promoted, marketed, sold, labeled, and distributed by Merck, was defective

due to the product’s inadequate warnings and instructions. Merck knew, or should have

known, and adequately warned that its product created a risk of serious and dangerous side

effects, including but not limited to, viral infection, resulting in shingles, postherpetic

neuralgia, or other diseases of the nervous system.

       76.    The product was under the exclusive control of Merck and was unaccompanied

by appropriate and adequate warnings regarding the risk of severe and permanent injuries

associated with its use, including, but not limited to, the risk of developing a disease in the

nervous system due to viral infection. The warnings given did not accurately reflect the risk,

incidence, symptoms, scope or severity of such injuries to the consumer.


                                          Page 13 of 21
          Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 14 of 21



          77.   Notwithstanding Merck’s knowledge of the defective condition of its product,

Merck failed to adequately warn the medical community and consumers of the product,

including the Plaintiff and his healthcare providers, of the dangers and risk of harm associated

with the use and administration of its Zostavax vaccine.

          78.   Merck downplayed the serious and dangerous side effects of its product to

encourage sales of the product; consequently, Merck placed its profits above its customers’

safety.

          79.   The product was defective when it left the possession of Merck in that it

contained insufficient warnings to alert the Plaintiff and/or her healthcare providers to the

dangerous risks and reactions associated with it, including possible viral infection of the

nervous system or another disease of the nervous system.

          80.   Even though Merck knew or should have known of the risks and reactions

associated with their product, it still failed to provide warnings that accurately reflected the

signs, symptoms, incident, scope, or severity of the risks associated with the product.

          81.   Plaintiff used Merck’s Zostavax vaccine as intended or in a reasonably

foreseeable manner.

          82.   Merck, as a manufacturer of pharmaceutical products, is held to the level of

knowledge of an expert in the field and, further, Merck had knowledge of the dangerous risks

and side effects of its product.

          83.   Plaintiff did not have the same knowledge as Merck and no adequate warning

was communicated to his physicians and/or healthcare providers.

          84.   Merck had a continuing duty to warn consumers of its Zostavax vaccine,

including the Plaintiff, of the dangers associated with its product, and by negligently and/or


                                         Page 14 of 21
            Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 15 of 21



wantonly failing to adequately warn of the dangers of the use of its product, Merck breached

its duty.

        85.     Although Merck knew, or should have known, of the defective nature of its

Zostavax vaccine, it continued to design, manufacture, market, and sell its product without

providing adequate warnings and instructions concerning the use of its product so as to

maximize sales and profits at the expense of the public health and safety, in knowing,

conscious, and deliberate disregard of the foreseeable harm caused by its Zostavax vaccine.

        86.     As a direct and proximate result of Merck’s failure to adequately warn or other

acts and omissions of Merck described herein, Plaintiff was caused to suffer severe and

permanent injuries, pain, and mental anguish, including diminished enjoyment of life.

        87.     Merck’s failure to warn extended beyond the product’s label and into other

media available to Merck, including but not limited to advertisements, person-to-person sales

calls, medical journal articles, and medical conference presentations.

        88.     Upon information and belief, the Zostavax vaccine as manufactured and

supplied by Merck, was further defective due to inadequate post-market warnings or

instructions because after Merck knew, or should have known, of the risk of serious bodily

harm from the administration of its Zostavax vaccine, including, but not limited to, possible

viral infection, Merck failed to provide adequate warnings to consumers and/or their

healthcare providers about the product, knowing the product could cause serious injury.

        89.     The Zostavax vaccine, upon information and belief, as manufactured and

supplied by Merck, was defective due to inadequate post-market warnings or instructions

when it left Merck’s control.




                                          Page 15 of 21
          Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 16 of 21



        90.    As a proximate result of Merck’s acts and omissions and the Plaintiff’s use of

 Merck’s defective product, Plaintiff suffered serious physical injuries and incurred substantial

 medical costs and expenses as set forth in this Complaint, including, but not limited to, mental

 anguish, physical pain and suffering, diminished capacity for the enjoyment of life, a

 diminished quality of life, medical bills and other expenses, and other losses and damages.

       WHEREFORE, Plaintiffs demand judgment against the Defendants, and request

 compensatory damages for past, present, and future pain and suffering, medical costs and

 expenses, lost wages; prejudgment and post-judgment interest as allowed by law, costs of suit

 and attorneys’ fees, as allowed by law, punitive damages, and any and all such other relief as

 the Court deems just and proper; and further, demands a trial by jury of all issues so triable.


                              FOURTH CAUSE OF ACTION
                            BREACH OF EXPRESS WARRANTY

       91.     Plaintiffs repeat, reiterate, and reallege each and every allegation contained in

this Complaint with the same force and effect as if fully set forth herein.

       92.     Merck, through its officers, directors, agents, representatives, and written

literature and packaging, and written and media advertisements, expressly warranted that its

Zostavax vaccine was safe and effective and fit for use by consumers, was of merchantable

quality, did not create the risk of or produce dangerous side effects, including, but not limited to,

viral infection, and was adequately tested and fit for its intended use.

                a.     Specifically, Merck stated that “ZOSTAVAX is a vaccine that is
                       used for adults 60 years of age or older to prevent shingles (also
                       known as zoster).”

                b.     Merck also stated that “ZOSTAVAX works by helping your
                       immune system protect you from getting shingles.”


                                           Page 16 of 21
           Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 17 of 21



                c.       Merck, in the SPS paper, stated that “…the vaccine did not cause
                         or induce herpes zoster.”

        93.    At the time of making such express warranties, Merck knew and/or should have

known that its Zostavax vaccine did not conform to the express warranties and representations

and that, in fact, its product was not safe and had numerous serious side effects, including the

possibility of viral infection, of which Merck had full knowledge and did not accurately or

adequately warn.

        94.    The Zostavax vaccine manufactured and sold by Merck did not conform to these

representations because it caused serious injury, including diseases of the nervous system

and/or viral infection, to consumers such as the Plaintiff, when used in routinely administered

dosages.

        95.    Merck breached its express warranties because its product was and is defective for

its intended purpose.

        96.    Plaintiff, through his physicians and/or other healthcare providers, did rely on

Merck’s express warranties regarding the safety and efficacy of their product in purchasing and

injecting the product.

        97.    Members of the medical community, including physicians and other healthcare

professionals, relied upon Merck’s representations and express warranties in connection with

the use recommendation, description, and dispensing of Merck’s Zostavax vaccine.

        98.    As a foreseeable, direct, and proximate result of the breach of the express

warranties, the Plaintiff suffered severe and permanent personal injuries, harm, and economic

loss.

        WHEREFORE, Plaintiffs demand judgment against the Defendants and request

compensatory damages for past, present, and future pain and suffering, medical costs and

                                           Page 17 of 21
         Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 18 of 21



expenses, lost wages; prejudgment and post-judgment interest as allowed by law, costs of suit

and attorneys’ fees, as allowed by law, punitive damages, and any and all such other relief as

the Court deems just and proper; and further, demands a trial by jury of all issues so triable.

                              FIFTH CAUSE OF ACTION
                           BREACH OF IMPLIED WARRANTY

        99.   Plaintiffs repeat, reiterate, and reallege each and every allegation contained in

this Complaint with the same force and effect as if fully set forth herein.

        100. At all times relevant to this action, Merck manufactured, compounded,

portrayed, distributed, recommended, merchandised, advertised, promoted, and/or sold its

Zostavax vaccine for use in preventing shingles.

        101. Merck knew of the intended use of its Zostavax vaccine at the time Merck

marketed, sold, and distributed its product for use by the Plaintiff’s physicians and healthcare

providers, and impliedly warranted the product to be of merchantable quality and safe and fit

for its intended use.

        102. Merck impliedly represented and warranted to the medical community, the

regulatory agencies, and consumers, including the Plaintiff, his physicians, and his healthcare

providers, that Zostavax vaccine was safe and of merchantable quality and fit for the ordinary

purpose for which the product was intended and marketed to be used.

        103. Merck’s representations and implied warranties were false, misleading, and

inaccurate because its product was defective, and not of merchantable quality.

        104. At the time Merck’s product was promoted, marketed, distributed, and/or sold by

Merck, Merck knew of the use for which it was intended and impliedly warranted its product

to be of merchantable quality and safe and fit for such use.


                                          Page 18 of 21
           Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 19 of 21



          105. Plaintiff, his physicians and healthcare providers, and members of the medical

community reasonably relied on the superior skill and judgment of Merck, as manufacturer,

developer, distributor, and seller of the Zostavax vaccine, as to whether it was of merchantable

quality and safe and fit for its intended use, and also relied on the implied warranty of

merchantability and fitness for the particular use and purpose for which the product was

manufactured and sold.

          106. Contrary to Merck’s implied warranties, its product as used by the Plaintiff, was

not of merchantable quality and was not safe or fit for its intended use because the product

was unreasonably dangerous as described herein.

          107. Merck breached its implied warranty because its product was not safely fit for its

intended use and purpose.

          108. Merck placed its product into the stream of commerce in a defective, unsafe, and

inherently dangerous condition, and the product was expected to and did reach the Plaintiff

without substantial change in the condition in which it was manufactured and sold.

          109. As a foreseeable, direct and proximate result of Merck’s acts and omissions and

Plaintiff’s use of Merck’s defective product, Plaintiff suffered serious physical injuries and

incurred substantial medical costs and expenses to treat and care for his injuries described

herein.

          WHEREFORE, Plaintiffs, demand judgment against the Defendants and request

compensatory damages for pain and suffering, medical costs and expenses, lost wages;

prejudgment and post-judgment interest as allowed by law, costs of suit and attorneys’ fees,

as allowed by law, punitive damages, and any and all such other relief as the Court deems just

and proper; and further, demands a trial by jury of all issues so triable.


                                          Page 19 of 21
            Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 20 of 21



                                   SIXTH CAUSE OF ACTION
                                    UNJUST ENRICHMENT


          141.   Plaintiffs repeat, reiterate, and reallege each and every allegation contained in this

Complaint with the same force and effect as if fully set forth herein.

          142.   Merck is and at all times was the manufacturer, seller, and/or supplier of the

shingles vaccine, Zostavax.

          143.   Plaintiff paid for Merck’s product for the purpose of preventing shingles.

          144.   Merck has accepted payment by Plaintiff for the purchase of their product.

          153.   Plaintiff had not received the safe and effective vaccine for which he paid.

          154.   It would be inequitable for Merck to keep this money if Plaintiff, did not in fact

receive safe and effective treatment for the prevention of shingles.

          WHEREFORE, plaintiffs demand judgment against Merck, and request compensatory

damages for past, present, and future pain and suffering, medical costs and expenses, lost wages;

prejudgment and post-judgment interest as allowed by law, costs of suit and attorneys’ fees, as

allowed by law, punitive damages, and any and all such other relief as the Court deems just and

proper; and further, demands a trial by jury of all issues so triable.

          155.   By reason of the foregoing, Plaintiff has suffered injuries and damages as alleged

herein.

          WHEREFORE, plaintiffs demand judgment against the defendants herein on all causes of

action in an amount that exceeds the jurisdictional limits of all lower courts that would

otherwise have jurisdiction over his causes of action alleged herein, together with interest, costs

and the disbursements of this action, with interest from September 11, 2017.

                                        NAPOLI SHKOLNIK, LLC


                                            Page 20 of 21
        Case 2:19-cv-20188-HB Document 1 Filed 05/15/19 Page 21 of 21




                             By:     /s/ Nicholas R. Farnolo
                                     Nicholas R. Farnolo
                                     400 Broadhollow Road
                                     Melville, NY 11747
                                     (212) 397-1000
                                     nfarnolo@napolilaw.com
                                     ATTORNEY FOR PLAINTIFF

Dated: May 15, 2019




                                   Page 21 of 21
